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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C, Knipple (Deceased), et al.
                   Plaintiffs




                                                          Civil Action#l:OlCV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                        REPORT OF SPECIAL MASTER
                     PURSUANT TO ORDER OF REFERENCE
              CONCERNING COUNTS CCCLXXm THROUGH CCCLXXVI

                                  GARY RANDALL SCOTT
                                       SGT USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for wrongfbl death resulting from an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.
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                                      FINDINGS OF FACT

               (1) Gary Randall Scott was born on January 17, 1961 in the United States of

America and was at birth and remained until his death, a citizen of the United States. Soon after

completing high school, Mr. Scott joined the United States Marine Corps and on October 23, 1983

was a member of the 24' MAU, First Battalion, 8" Regiment.

       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 241 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, Gary Randall Scott, suffered severe injuries,

which resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23,1983.

       (5) The records available and the testimony of witnesses indicate that prior to death, there is

no evidence fiom which the Special Master can make any finding that the decedent suffered bodily

pain or suffering as a result of his injuries and death appears to have been instantaneous.

       (6) As a result of the death of Gary Scott, his estate suffered a loss of accretions to the estate

which could have been expected to occur during the course of his anticipated life. These losses are

the subject of a report under oath fiom Dr. Jerome Paige and are supported by Dr. Paige's

testimony given by videotape. They have been reduced by Dr. Paige to present value in accordance

with District of Columbia v. Barriteau, 399 A.2d 563 @.C. App. 1979). Based upon the foregoing,
the amount of loss to the estate is in the amount of $432,024.00.




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       (7) As the result of the death of Gary Randall Scott, his parents and his surviving siblings

have suffered and will continue to suffer severe mental anguish and the loss of society. The

testimony established that his parents and siblings have never recovered flom the shock and

suffered severe emotional trauma from Gary Scott's death in Beirut. They are participants in

various memorial programs for the victims of October 23, 1983 and are vigorous supporters of

those programs. They are joined in this undertaking by decedent's surviving siblings and children.

       SERGEANT GARY RANDALL SCOTT, "Randy" was born on January 17, 1961.

Sergeant Scott's survivors all described Randy as a kind and gentle man who, who had a great

relationship with his father, and like his father, was easy going, and had a sense of humor. His

mother recalls Randy as being shy child, only speaking to her and his siblings until age 3. Sergeant

Scott's mother, Mrs. Mary Ann Scott, testified that Randy and his sister Susan had the closest

sibling relationship, they were one year apart in age and were generally in the same school, and

both had an interest in sports.

       Mrs. Scott testified that Randy did well in high school, played sports and had many, many

fiiends. After high school Randy was accepted to a local community college but he decided to

enlist in the Marines. Randy's father and mother did not want Randy to join the Marines, but they

accepted his decision. Susan cried when her brother told her he has passed his physical and was

going into the Marines. Randy assured her that he would be fine. He brother assured Susan that

nothing was going to happen to him. Susan again cried when her brother told her he was going to

Beirut for the 2& time.

       Randy was trained as a combat engineer and he told his younger brother, Jon, of his

previous deployments to Africa and Greece where he and the Marine engineers helped build
bridges, schools and hospitals. Randy also told his brother that he cleared mine fields.




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        Sergeant Scott was making plans after his scheduled discharge from the Marines in

February. He told his family he was looking forward to his discharge, he was hoping to get a job

with his father at Quaker Oats, complete college and look for employment using his Marine

training in explosives, getting certified in industrial use of explosives. His last letters to his family

told them his unit was preparing to leave. Susan testified that her grandmother received a letter

fkom Gary telling her that he didn't know what was going on but he was looking forward to getting

out of Beirut.

        ESTATE OF LARRY L. SCOTT, Mrs. Mary Ann Scott, Administrator of the Estate,

testified that her husband, Lany Scott, was a Navy veteran. Mr. Scott was employed as an oven

operator at the Quaker Oats cereal plant in Bloomington. Her husband was diagnosed with

coronary heart disease, and he had his first heart operation in 1980, while Randy was in boot camp.

Randy's parents chose not to tell him about his father's operation until after Randy completed boot

camp. The family testified that Mr. Scott changed his life-style, gave up smoking and embraced a

healthier diet after the operation. Mrs. Scott testified that her husband was able to return to work

and worked two and a half years after this first operation until Randy's death. All Mr. Scott's

survivors testified that he lost the will to live after his son was killed. All Mr. Scott's survivors also

testified as to how moved each of them were at their brother's funeral when they saw their father

cry for the first time.

        In October 1983, at the exact same time as the Beirut bombing, Mr. Scott's grandson

William Travis was undergoing medical tests which disclosed the brain tumor which ultimately

took his life.




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       After the death of his son, Mr. Scott became bitter and believed that President Ronald

Regan made a terrible mistake. Mr. Scott suffered hls last heart attack the night prior to the

dedication of the Beirut memorial in North Carolina.

       The death of his son most certainly created additional stress for Mr. Scott, robbed him of his

will to live and shortened h s life.

       MRS. MARY ANN SCOTT testified that Randy's death devastated the Scott family. Mrs.

Scott believes her husband never got over it, he never recovered fiom the loss of his son and was

bitter about it until his death. Mrs. Scott has been employed by a local newspaper for the last 16

years and her family was one of the first settlers in the Rankin, Illinois area. Mrs. Scott testified

that on the night of the bombing, she woke up choking and she believes that was a sign that her son

had been killed.

        On October 23, 1983, after learning of the explosion in Beirut, Mr. Scott began smoking

again and abandoned his healthy lifestyle. Mr. Scott suffered final heart attack the day before the

Scott family was scheduled to go to Jacksonville, North Carolina for the dedication of the Beirut

Memorial. Mr. Scott died on October 22,1998 almost 15 years to the day after the death of his son.

        October 23, 1983 Mary Ann Scott and husband found out about the bombing in Beirut on

television. While they were visiting at a hospital and saw more and then the government increased

the death count. She was not worried that much because the recent letter they received fiom Randy

said he was on a ship. They got apprehensive that evening because they said more and more people

killed. They said where it happened and she thought he might be on the perimeter. Lany called

Washington and told "do not call us we'll call you" A local Marine, Captain Nichols was very

understanding. After a few days Mary Ann had a feeling that he was dead. She had an incident the

day the bomb went off and she had a grandchild over and woke to feeling of choking and she did



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not think much about it then but believes that was when he was killed.        The Marine Captain

Nichols came to tell them Randy had been killed around 1 or 1:30 AM. Lany was devastated by

Randy's death; he fell to pieces and never got over it. He was very, very angry. He turned his grief

into anger and it is hard to deal with somebody like that. He blamed President Reagan and others.

Mary AM had strong feelings too but someone had to remain calm at it was her.

       About a week later Gary's remains came home. Mrs. Scott does not remember much about

the funeral because she was emotionally out of it. Rankin, Illinois is a small town and the family

found out how many people cared. There were numerous media and reporters that were very

intrusive. The Marines would have done anything the family asked of them. They tried to

anticipate what the family wanted and that helped. Larry did not do very well. None of the family

did very well. Larry was on a downward course after Gary's death. Larry was under so much

stress and Mary Ann tried to talk to him about it but there was no reasoning. He started smoking

the day it happened - he did not care a whole lot after that.

       To Mary Ann it was all a big blur. Her grandson had brain tumor surgery and after the

death of Gary. He had another surgery and later died. Mary Ann was under a lot of stress too. She

has had bypass surgeIy and has diabetes. She said she was and is a mess. Mary Ann has good

friends that have been very helpful. Gary's death changed and affected her children. The family

does not get together as much any more. They have big holes in their family with the death of Gary

and then Larry and, of course, Travis.

       Mary Ann believes the litigation is helpful because she wants someone to be responsible. It

is never far out of your mind. She hopes Iran will really have to pay for it. She wants someone to

be accountable. She wants Iran to h o w they cannot get away with terrorist acts. If our country




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           had done something when the first bombing occurre

           now.

                  KEVIN JAMES SCOTT is the oldest of tht
           position for State Farm Insurance in Bloomington, I

           and was the news director for a local radio station in I

           brother and Randy was always asking about Kevin's J

           trying to conceal the real story. He recalls a letter fic

           taking one dG at a time. In October 1983, Kevin wa!

                  Kevin heard about the Beirut bombing fiom h

           coverage. Kevin knew his brother was stationed ir

           feeling that his brother was killed in the attack. The

           family spokesman.

                   The next few days Kevin was talking to me

           waiting was the worst of it. Kevin thought he knew

           hell being the family spokesman and grieving at the ti

                   Kevin threw himself into work more than no

           Kevin, believing there was no hope was a defense

           wonders what would have been different if Gary ha

           have been longer because he would not have burned

           the terrorism and senseless violence anymore.

                   Kevin did not participate in support groups.

                   The Beirut bombing was fiont-page news an

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        Out of this litigation Kevin would like to see someone to take responsibility. The Iranian

people should admit the guilt and suffer the consequences. This case could send a message to

Iranians that they must be accountable. They should come forward and admit they did it.

        Gary was looking forward to his tour of duty ending in four years and get back to civilian

world. He wanted to use what he learned and apply it to the civilian world. Gary was fascinated

with what Kevin was doing in broadcast and they spoke of that more than what Gary wanted to do.

        It was very early morning when the two representatives fiom the Marine Corps came to the

door and confirmed Randy's death, it hit his father very hard. Kevin's father went through 100%

change. Before he was outgoing and that changed. Physically it destroyed him. The politics upset

him. That they were unarmed offended him. Rules of engagement were more restrictive than the

rules that governed a civilian walking down the street in DC. Kevin's father could not understand

this.

        At the time Kevin recalls very little about Iran's involvement, just that they were one of the

usual suspects.

        Kevin testified that his father was an easy going and a family man and a die-hard sports fan.

Kevin testified that Randy and his father were a lot alike and very close. Kevin remembers his

brother Randy as a great all-American guy who would always help out and give you the shirt off

h s back. Randy shared is father's interest in sports. Before enlisting in the Marines, Randy worked

in a local grocery store. Kevin testified that the death of Randy caused a 100% change in his father.

Randy's death, in Kevin's view, emotionally and physically destroyed his father. His father had

heart problems and after Randy's death, his father didn't care.




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       Kevin often thinks if his brother was still alive, what would have happened. Kevin feels he

has never been able to grieve and every time there is another terrorist attack he relives the suffering

of the loss of his brother.

       STEPHEN ALLEN SCOTT was three school years older than Randy. Stephen and Randy
shared the same bedroom through high school. They shared the same bed as young children.

Stephen remembers they tried to get each other into trouble. Stephen joined the Air Force after

high school and stayed in for two years. Stephen testified that they lived in a small town and the

kids had no real employment options and the Scott family had modest means so the military was a

viable option. Stephen was not surprised that Randy and several of his fiiends went into the

military after high school.

        Stephen testified his father was not happy with Randy's 2ndassignment to Beirut. Last time

Stephen spoke to his brother, Randy told him he intended to get out of the Marines and find work in

industry getting certified to work with high explosives. Stephen knew that Randy's assignment in

Beirut placed him in the middle of a Civil War. Randy told h s brother they were being shot at but

had no bullets and were not allowed to shoot back.

        In 1983 Stephen was married. Stephen had three children, the oldest son was William

Travis Scott. Randy and Travis were best of buddies, Randy was his favorite uncle. In 1983, while

Randy was assigned to Beirut, William Travis Scott was hagnosed as having a brain tumor. Steven

and the Scott family decided not to tell Randy about Travis's medical problem until Randy returned

home in a couple of months. Randy was killed without knowing that Travis had suffered from a

brain tumor. William Travis Scott died from the brain tumor in 1988.

        In October 1983, Stephen worked part-time at a lumberyard and attended college because

he could not find full time work. On October 23, when Stephen reported for work, the employee's




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told him about the Beirut attack. Stephen went to the employee break room and listened to the

news reports. A camera crew came to the store and Stephen couldn't believe what was happening,

he thought Randy would be okay. As the Scott family waited for news, the local Marine Corps

recruiter told Stephen that the building was bombed and try not to expect a good ending. Stephen

knew that if Randy were alive, they would have known.

       Stephen said the funeral got out of hand; 700 - 800 people attended the funeral at the hlgh

school and Stephen thought local politicians used the memorial service to their advantage. Mrs.

Scott was mad, she didn't want a big funeral and she wanted it at the church. Stephen also noticed

how their neighbors didn't know how to react. His father knew his son could die but his father

thought his son's life was thrown away for nothing. Stephen noted that after the funeral, Randy's

fiends visited the family.

       Stephen outlined the trauma in his life:

               - son diagnosed with a brain tumor at same time his brother was in Beirut;
               -   brother, Randy, killed in Beirut;

               - no employment;
               -   marital problems;

               -   brother's death was straw that broke his back;

               -   his young son William Travis Scott died fiom brain tumor; and

               -   father died.

Stephen testified his is not the same person he was in 1983; he is still affected by the cumulative

trauma and losses he has suffered. Stephen believes he is withdrawn and he isn't able to fully

remember his brother, son or father because he is overpowered by the memories. If his brother
Randy were around, it would have been one less problem and his father would have had a happier




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life. Randy was a good person and nice guy. If Randy was alive there would not have been the
extra stress. He would have had Randy to talk with and Randy understood him. His dad would

have been a lot happier. He would have still have the sadness of his first grandchild dying but the

stress would have been a lot less. Randy was a really nice guy and he would have made a

difference. The family was told that Randy went to Beirut for the second tour because he took the

place of a married guy so he would not have to leave his family. Nice guys do that sort of thing,

people that care about other people. And Randy was that kind of person. The correspondence that

the family had fiom Randy was all destroyed in the fire. He only has one picture of Randy holding

Travis. Stephens other children were too young or not born. They do talk about it. Stephen says

what a nice guy their uncle was.

       SUSAN SCOTT JORDAN is Gary Randall Scott's sister and they were eleven months

apart in age. Susan Scott Jordan is married and has three children. She has been employed part-

time by the Post Office for the past 5 years. Susan and Randy were about the same age and went to

the same school at the same time, they were always together, and people thought they were twins.

Randy joined Marines because the town had nothing and service was best for him. Susan stated

that her mother wasn't happy Randy joined the Marines and her father was &aid his son would be

killed. After Randy passed the physical exam and told Susan he was accepted by the Marines she

cried. Randy told her "don't worry, nothing is going to happen."

       Randy told his sister he couldn't discuss his job, because of security, she knew he was a

combat engineer, and she knew that he was living in the headquarters building in Beirut. Randy

told her that they were going to Beirut as peacekeepers and in letters, he mentioned fighting in the

hills. Randy wrote her that he was looking forward to getting home and finding a job in F e b w .




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       On October 23, 1983, a fiiend of Susan's told her about reports of a bombing in Beirut, she

hoped her brother wasn't there. Susan remembers her father pacing the floor and on the next

Thursday the Scott family received formal notification of Randy's death. Susan remembers her

father answering the door, she hid under the covers because she didn't want to hear the news. She

was sleeping on a couch and heard the Marines make the formal notification. Randy's body was

returned November 5~ and she remembers her father crying at the funeral. Her father was very

close to Randy and it was hard on him.

       Susan married in 1985 and has three children. She speaks to her children about her brother

and her oldest son is named in honor or her brother. Her daughter has asked her many questions

Randy. She knows that Randy would have been a great uncle and she is certain he would have

been involved with her children. Susan remembers how Randy acted with his other nephews and

she knows, had he lived, he would have been a great influence on her children. She thinks about her

brother often, he would have been 44 now. She wonders what he would be doing now. Randy and

her father were a lot alike, sense of humor, laid back, always there.

       When Randy died her father started smoking again. He blamed President Ronald Reagan

and felt the entire mission was senseless and useless. She lost her brother 22 years ago and that
loss still hurts. She wonders how can people be killed on a peacekeeping mission. Every time there

is a new terrorist attack, the memories of her brother and Beirut come back. 9/11 was especially

hard, her heart went out to the victims and their families.

       Susan lives near funeral home and on a daily basis she recalls them bringing her brothers

remains to the funeral home. She recalls the visitation for Randy, the funeral for her nephew Travis

and her father's fwneral. Every time she looks at the funeral home, she feels sadness.




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          Susan's husband doesn't understand why she is still grieving over brother. Her husband
isn't a family man and he does not understand how Susan's losses, first the death of her brother,

then the death of her nephew and then the death of her father have caused her such deep sadness.

These events are a source of domestic strain.

          Gary's funeral was November 5,1983.

          The funeral was at the high school. All the military branches were there. The two pastors

did the service. It took forever to get everyone out to the cemetery because there were so many

people.

          Seeing her dad cry at the funeral was extremely hard. He never showed that much emotion.

Her dad took it hard because the way Gary died was harder than if car accident or any other way.

          Susan has not been able to attend any memorial services but wants to take her children there

someday. Her chlldren wished they had known Gary. Susan made a scrapbook and discussed it

with her children. Susan's oldest son's middle name is after their uncle. Gary would have been an

outstanding uncle to Susan's kids. Susan and Gary were so close and would talk a lot and she

doesn't have that important person in her life. Susan wishes her brother could have been around

with her kids. Gary would have done more with them than she does because he was very family

orientated.

          JON CHRISTOPHER SCOTT, the youngest of the Scott children, is a systems analyst.

He finished high school and attended some college. He was 9 years younger than Randy and just

13 when his brother was killed. He looked up to his brother. Jon remembers that when his brother

left to go to Beirut he feared for him. Randy told Jon about his trips to Afi-ica and Greece where he

was involved with construction of bridges, schools and hospitals. Jon recalls some of Randy's




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letters indicated that Randy was apprehensive. Jon recalls that Randy told hlm he was involved

with mine clearing.

           On October 23, 1983, Jon was in bed and his mother and father woke him. There were

100's of people around the house and his parents sent h m to stay with a fiiend while the family

waited for word. The family was very scared aRer a couple of days with no word. Jon doesn't

remember the funeral but he remembers the guards at the visitation and he remembers his father

crying at the funeral.

           Jon's 8& grade coach spoke to him, and after the funeral, Jon got involved in sports so that

he didn't have to think about his brother. Jon wonders how his life would be different if his brother

were alive. The death of his brother hits him worst at certain times, on Jon's birthday, when he

turned 22, he lcnew he was now older than his brother. Every time a terrorist attack is reported or

the news remembers Beirut, he remembers his brother. After 911 1 he had emotional problems.

           Jon remembers his father as good-natured and would let you get away with stuff. Jon's father worked nights'

was a Cubs Fan and he remembers his father going to his baseball games before he went to work. Jon notes that his

father was angry after Randy's death and blamed President Reagan. Jon also believes his father let his health go

downhill after Randy's death. Jon remembers Randy and his father as being the same sort of person. Both Randy and

their father "would go with the flow." Jon testified that he believes his father's life would have been different had not

Randy been killed. Jon is saddened by the loss of his brother at certain times. Jon recalled when he turned 22 and he

knew that he was now older than his brother and he wonders how his life would have been different had Randy not

been killed. Every time there is a terrorist attack or a show on Beirut, he remembers his brother. He recalls a picture of

a huge hole in Beirut which was where his brother was killed. Jon had a very difficult time during the 9111 terrorist

attacks.




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                                    CONCLUSIONS OF LAW

       (1) Wrongful Death.
       The Plaintiffs produced comprehensive testimony fiom Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of Gary

Randall Scott in the amount of $432,024.00.

       (2) Survival Action - Pain And Suffering.

       There is no evidence from which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatium consisting of

emotional injury inflicted upon persons other than the decedent by the actions of the defendants

and/or their agents. As the Court noted in the Flatow case, id., this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent's comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Estate of Larry L. Scott (father)            -
$10,000,000.00;   Mary Ann Scott (mother)        -   $10,000,000.00; Kevin James   Scott (brother) -




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$5,000,000.00;   Stephen Allen Scott (brother)    -   $5,000,000.00;   Susan Scott Jordan (sister)   -
$5,000,000.00; and Jon Christopher Scott (brother) - $5,000,000.00.




   Date: May 16,2006

                                                             Loraine A. Ray,
                                                             Special Master                      I




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